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    1   UNITED STATES DISTRICT COURT

    2   NORTHERN DISTRICT OF NEW YORK

    3   - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

    4   UNITED STATES OF AMERICA,

    5

    6       -versus-                           04-CR-402

    7                                         (SENTENCING)

    8   YASSIN MUHIDDIN AREF,

    9

   10                        Defendant.

   11   - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

   12

   13

   14

   15            TRANSCRIPT OF PROCEEDINGS held in and for the

   16   United States District Court, Northern District of New York,

   17   at the James T. Foley United States Courthouse, 445 Broadway,

   18   Albany, New York 12207, on THURSDAY, MARCH 8, 2007, before

   19   the HON. THOMAS J. McAVOY, Senior United States District

   20   Court Judge.

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    2   APPEARANCES:

    3

    4

    5   FOR THE GOVERNMENT:

    6   HON. GLENN T. SUDDABY, United States Attorney - NDNY

    7   BY:   WILLIAM C. PERICAK, Assistant U.S. Attorney

    8         -and-

    9         ELIZABETH C. COOMBE, Assistant U.S. Attorney

   10

   11

   12   FOR THE DEFENDANT AREF:

   13   KINDLON & SHANKS

   14   BY:   TERENCE L. KINDLON, ESQ.

   15

   16

   17   ALSO PRESENT:   EDWARD M. COX, U.S. Probation Officer

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    1                 (Court commenced at 9:31 AM.)

    2                 THE CLERK:    United States of America versus

    3   Yassin Muhiddin Aref, 04-CR-402.

    4                 May I have the appearance for the Government?

    5                 MR. PERICAK:    William Pericak, on behalf of

    6   the United States.   Good morning, your Honor.    Elizabeth

    7   Coombe with me.

    8                 THE COURT:    Good morning.

    9                 THE CLERK:    On behalf of the defendant,

   10   please.

   11                 MR. KINDLON:    Terence Kindlon, on behalf of

   12   Mr. Aref, your Honor, sitting at counsel table with Kathy

   13   Manley from my office.    Mr. Sprotbery, who was engaged in

   14   trial, is in jury selection in County Court and can't be

   15   here this morning.

   16                 THE COURT:    All right.     Are you ready to

   17   proceed with sentencing?

   18                 MR. KINDLON:    Yes, sir.

   19                 THE COURT:    Why don't you come up and stand

   20   before the Court so I can dialogue with you.     Mr. Aref, if

   21   you would come up, sir.    Good morning.

   22                 THE DEFENDANT:    Good morning, sir.

   23                 THE COURT:    All right.     Well, there is a lot

   24   of information that's been presented to the Court in this

   25   case, and some of it's been very helpful.     There has been a




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    1   lot of input from the public, I received petitions, I've

    2   received many, many letters on behalf of your client,

    3   some -- a couple of them not so complementary, but the vast

    4   majority of them said a lot of nice things about him, and

    5   the Court will certainly take that into consideration.

    6   Of course, I have received and gone over the presentence

    7   investigation report and the addendums and all the briefs

    8   and submissions by counsel, which, again, have helped the

    9   Court in reaching a sentence that it will pronounce this

   10   morning.

   11                  So, to begin with, I know the answer to this

   12   question, Mr. Kindlon, but for the record, you have had an

   13   opportunity, have you not, to go over the contents of the

   14   presentence report with your client, Mr. Aref?

   15                  MR. KINDLON:   Yes, sir.

   16                  THE COURT:   And Mr. Aref, has somebody gone

   17   over in detail -- namely, Mr. Kindlon or Mr. Sprotbery or

   18   somebody from the office -- gone over the entire contents of

   19   the presentence report with you?

   20                  THE DEFENDANT:   Mrs. Kathy.

   21                  THE COURT:   All right.    My question goes to

   22   do you understand what's in that report?

   23                  THE DEFENDANT:   Yeah.

   24                  THE COURT:   Okay.   I thought you might.   All

   25   right.   Is there anything you wanted to tell me about the




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    1   report, Mr. Kindlon?

    2                    MR. KINDLON:   Anything that I have to say

    3   about the report, your Honor, with the Court's permission, I

    4   will incorporate into the remarks addressed to the subject

    5   of sentencing.

    6                    THE COURT:   All right.   Would you take the

    7   same stand, Mr. Aref?

    8                    (Discussion between defendant and counsel.)

    9                    MR. KINDLON:   I know that my client has a

   10   statement that he's given a great deal of thought to that he

   11   would like to address to the Court.     In response to your

   12   question, "Do you take issue with anything in the report,"

   13   what Mr. Aref has told me is that he takes issue, to use his

   14   words, with everything in the report.      I have suggested to

   15   him, and with the Court's leave would ask that he be

   16   permitted, to incorporate any reservations he has about the

   17   information contained in the report into his remarks that

   18   I'm anticipating he is about to address to the Court.

   19                    THE COURT:   Well, yeah, that's all right, I

   20   have no problem with that.      But I think everybody knows here

   21   that whatever I do is gonna be appealed to the Second

   22   Circuit, and that's fine, that's what they're there for.

   23   And this is laying the groundwork for that.     So, to make it

   24   easier for defense, I will give you an exception to every

   25   word in the presentence report that was said about Mr. Aref.




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    1   Now there can be no doubt, when it gets to the Circuit, that

    2   you've got the foundation and the groundwork to argue

    3   anything you want about the contents of that report.

    4                 MR. KINDLON:   Thank you, Judge.    I think

    5   that's a perfect response to that.   Mr. Aref likes to make

    6   detailed notes on each and every word.

    7                 THE COURT:   Sure.   That's okay.

    8                 (Discussion between defendant and counsel.)

    9                 MR. KINDLON:   I think we're ready to proceed,

   10   Judge.

   11                 THE COURT:   All right.    What would you like

   12   to say on behalf of your client before I sentence him?

   13                 MR. KINDLON:   Mr. Aref has requested the

   14   opportunity to speak himself and I have assured him that, in

   15   due course, he will be given that opportunity.

   16                 THE COURT:   Absolutely.   It is his right

   17   under the law, and he will be given that opportunity.

   18                 THE DEFENDANT:   Thank you.

   19                 MR. KINDLON:   And the custom and tradition

   20   and the law provides that counsel is permitted the

   21   opportunity to speak first, so I have some things I will say

   22   on your behalf and then you'll be able to speak on your own

   23   behalf.

   24                 THE DEFENDANT:   Thank you.

   25                 MR. KINDLON:   Okay?




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    1                    THE DEFENDANT:   Thank you.

    2                    MR. KINDLON:   Judge, I had hoped we would

    3   never come to this day.   It was my fond hope my client would

    4   be found not guilty of all 30 counts in the indictment.

    5   But, unfortunately, we do find ourselves here today,

    6   confronted by the stark reality of Mr. Aref's conviction on

    7   10 out of the 30 counts that he went to trial with, and what

    8   I'd like to do is put this in the context of 18 USC 3553(a)

    9   and advise the Court concerning some of the factors I would

   10   like to amplify that the Court should take into

   11   consideration.

   12                    Now, as you know, the defense lawyers who

   13   worked on this case, myself, Mr. Sprotbery, Kathy Manley,

   14   Steve Downes, everybody, devoted a considerable amount of

   15   time and effort to presenting as full and complete a picture

   16   of Mr. Yassin Aref to this Court as we possibly could.    So,

   17   I don't certainly want to repeat all of that stuff.    I think

   18   the record is more than complete.

   19                    But I do want to just emphasize some things

   20   about the nature and the circumstances of the offense and

   21   the history and the characteristics of my client.    First of

   22   all, the nature and circumstances of the offense.    When the

   23   FBI came into Yassin's life, he was not in violation of any

   24   law, he was going along, he was serving as an Imam, he was

   25   the head of a family, he was, essentially, minding his own




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    1   business.   This was not a crime that was initiated by

    2   Mr. Yassin or by his co-defendant.   It was a sting, a sting

    3   that was based on a fantasy, and involved a crime that was

    4   really the creation of the Government.   And unfortunately,

    5   this occurred at a time when there was a climate of the

    6   greatest fear in this country, fear that was, quite frankly,

    7   and I say this with all due respect to the current

    8   administration, fear that was flogged by the administration.

    9   And this pretend plot was carried forward by the most

   10   despicable snitch, undercover informant known as Malik, that

   11   we found in an American courtroom.   It's really important to

   12   remember that Yassin Aref was not a terrorist, not even a

   13   radical and, in fact, he never posed any threat whatsoever

   14   on national security.   I am not gonna reargue the motion to

   15   set aside the verdict or reargue the motion to dismiss, but

   16   I have to emphasize that the only thing that he was found

   17   guilty of was witnessing two money laundering transactions

   18   at the end of this long conspiracy that involved a grand

   19   total of $4,000.   That's it.   That's all that there is to

   20   this conviction.

   21                  The nature and the circumstances of the

   22   offender are also required to be taken into account under

   23   3553.   It's important to remember, and the Court listened to

   24   my client's testimony over a couple of days, that he's had a

   25   life that's as difficult as it is fascinating.   He lived




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    1   under Saddam Hussain for a period of time.   He lived in a

    2   country where anarchy was the only rule for a period of

    3   time.   He came to this country, ultimately, as a refugee.

    4   He is a refugee, he is a man of God, he is a poet, he is a

    5   scholar, and I submit to your Honor that the record is

    6   replete with evidence of the fact that he had the greatest

    7   respect for the law.   In fact, on at least one occasion when

    8   we were listening to tapes, when my client ended up

    9   lecturing Malik on the subject of morality, I had the sense

   10   I was listening to the TV character "Church Lady."    He was

   11   actually telling, actually instructing Malik on ethics,

   12   honesty and concern for his fellow human.

   13                  Yassin Aref had a sterling reputation for

   14   honesty and courage in his community.   He has been

   15   described, over and over and over again, by people who know

   16   him, by those who have submitted letters, as a loving,

   17   caring, involved head of his family.    We know that his wife

   18   has been profoundly depressed by this and he is the father,

   19   loving father of four rambunctious and fully Americanized

   20   children.

   21                  We have to stand in awe of his scholarship,

   22   your Honor.   As the Court will recall from his testimony, it

   23   was shown that when he was a young man, in order to secure

   24   his college diploma, he had to travel through war-torn,

   25   ungoverned country to attend classes, and it's only because




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    1   of this insatiable thirst for knowledge and the incredibly

    2   hard work he was willing to put forth that he was able to

    3   secure his Bachelor's degree and, by and by, move to Syria

    4   and start his family.

    5                  Your Honor, around here, a decade or so ago,

    6   we used to listen to the stories of Governor Cuomo's family

    7   and how hard his immigrant father worked at his little

    8   grocery store in Brooklyn to get the family started.   And

    9   when I learned the story of Yassin Aref, I thought "my God,

   10   this is the same story, just being repeated again."

   11                  When this man was evacuated to this country

   12   by the United Nations as a refugee -- and it's important to

   13   remember, he didn't come to this country to be a terrorist,

   14   he was evacuated by the United Nations Commission on

   15   Refugees -- he didn't pick the United States.   He could have

   16   gone to South America, Great Britain.

   17                  When he got here, he didn't speak the

   18   language.   What did he do when he first arrived?   He went

   19   out and got a job, and the only job he could get was

   20   cleaning bathrooms at the Albany Medical Center Hospital.

   21   That's how this educated poet, scholar and man of God began

   22   his life in the United States, cleaning filthy bathrooms at

   23   Albany Medical Center Hospital.   I said, "How many did you

   24   clean every day?"   He said, "Twenty-eight.   And when I was

   25   done, they sparkled," he said proudly.   Because of his hard




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    1   work and his dedication, he learned our language, he

    2   established himself in the community, he, by and by, became

    3   an Imam at a new mosque, and it was because of his fine

    4   qualities that he was drawn into this sting.   It was because

    5   he was known as such an ethical and honest individual that

    6   he was turned to to witness the financial transactions which

    7   were an integral part of the sting.

    8                  Now, under 3553, the Court, and I quote from

    9   the statute, "is required to impose a sentence that is

   10   sufficient, but not greater than necessary."

   11                  THE COURT:   That's right.

   12                  MR. KINDLON:   And in order to calculate or to

   13   determine what that sentence should be, it is required that

   14   the Court take into account the seriousness of the offense

   15   and recognize that purposes of sentencing are to establish

   16   respect for law and to provide just punishment.

   17                  Again, your Honor, I have to emphasize that

   18   this offense was a fantasy created by the Government and

   19   that my client was drawn into it, that he thought, at all

   20   times, and I am not here to argue the question of guilt or

   21   innocence, and I don't want to give you that impression,

   22   your Honor, because that has been in the record of this case

   23   already established, but it's my position that my client

   24   firmly and sincerely believed at all times that he was doing

   25   the right thing, he was honoring the command, he was




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    1   witnessing a financial transaction between two Muslim men.

    2                  It is so important when imposing a sentence

    3   that we promote respect for the law, and as this Court can

    4   see from the outpouring of community support, that has

    5   continued right up until this morning's Times Union, which I

    6   don't know if you've seen it, but it contains a very

    7   compelling editorial addressed to this Court that says, in

    8   sum and substance, temper justice with mercy, that a lengthy

    9   prison sentence will achieve nothing here.   And I think that

   10   this Court can rightly, under the strict terms of 3553, can

   11   rightly take into account what the public and the community

   12   perception is about the sentence.

   13                  Now, we do have to address the issue of the

   14   Guidelines, and the fact is that because of the law under

   15   which we're operating, this -- these offenses or this

   16   offense carries a guideline sentence of 360 months to life.

   17   But in this post-Booker era, any sentence is available to

   18   the Court, we are not bound by the Guidelines.     And the

   19   question remains:   What sentence is reasonable?   And I would

   20   submit, your Honor, that a sentence that was well below the

   21   guideline range is that which is reasonable here.    And I

   22   would further submit that pursuant to 5K2.0, a downward

   23   departure, based upon a combination of factors, is certainly

   24   the most appropriate.

   25                  We cited, in our extensive brief, we cited a




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    1   couple of significant examples, a case called Blake, from

    2   the Second Circuit, where a 21-level downward departure was

    3   appropriate; a case called Gamez, where a 10-level downward

    4   departure was appropriate.   And we feel that under the

    5   circumstances here, the combination of factors compels the

    6   conclusion that a downward departure would be most

    7   appropriate.

    8                   Some of those factors, and they're all set

    9   forth at length, but some of the factors are the

   10   extraordinary family responsibilities that my client has;

   11   the fact that he is an Imam, a man of God; that he has -- he

   12   began his time in this country with a history of low-paying

   13   jobs; and that he has managed just the most incredibly

   14   impressive array of achievements in his life up to this

   15   tragic event.

   16                   Finally, your Honor, I have to emphasize one

   17   last time that out of the 30 counts that were contained in

   18   the indictment, my client was convicted of only 10 out of

   19   the 30.   Or turn that around, he was acquitted of 20 out of

   20   the 30.   And I looked through these papers and through the

   21   petitions and through the letters for one thought that

   22   captures the essence of what it is that -- what message I

   23   would like to leave with this Court, and I found it in a

   24   letter from Sarah Burn (phonetic), who is a retired lawyer,

   25   who has been closely following this case from its inception.




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    1   And I quoted this in the papers, but I would like to repeat

    2   these words of wisdom here in this courtroom and, again,

    3   humbly request that this Court take these words to heart.

    4   Sarah Burn writes, "The terrorists are weakened when our

    5   system works the way it is supposed to.   Granting leniency

    6   in sentencing the Imam is just and it is vital to show the

    7   integrity of our system."

    8                  Thank you, Judge.

    9                  THE COURT:   Thank you, Mr. Kindlon.

   10   Mr. Pericak, Miss Coombe?

   11                  MR. PERICAK:   Yes, your Honor.   Your Honor, I

   12   don't intend to repeat everything that's in the papers, but

   13   I want to highlight a couple of important points.

   14                  The charge which carries the most severe

   15   guideline, 2339B, is providing material support to a Foreign

   16   Terrorist Organization, and it is crystal clear from the

   17   evidence, the operative facts show that Mr. Aref engaged in

   18   conduct that was exactly the kind of conduct that Congress

   19   and the Sentencing Commission contemplated when they enacted

   20   the severe guideline.   And that conduct was when Mr. Aref

   21   was told by the informant that he worked for

   22   Jaish-e-Mohammad, Mr. Aref recognized them immediately as

   23   being on the list as a terrorist organization.   And we've

   24   quoted in our memo and quoted to the Court before and

   25   Mr. Aref's conclusion with respect to this was two-fold:




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    1   One is, "Should I help them," that was the informant's

    2   question.   And he said, "It is wise for you to help them if

    3   you can."   That was his advice.   "Should I help this Foreign

    4   Terrorist Organization?"   "It is wise for you to help them

    5   if you can.   But be very careful, because if they find a

    6   link, if they find a link, you're gonna go to jail."    That

    7   was his advice, your Honor, and that's exactly the kind of

    8   conduct in the context of which this guideline was enacted.

    9                    And we all know, and Mr. Kindlon readily

   10   pointed out, it's a sting.     But a conspiracy, by definition,

   11   usually is prosecuted before any harm is committed, before

   12   the final act.   And so there's no question that conspiracies

   13   are punished based on the intent and the belief of the

   14   person engaged in it.   And in this case, it's very clear

   15   that Mr. Aref knew exactly what this organization was and

   16   what was involved.

   17                    And I do want to emphasize something else.

   18   In the contacts that Mr. Aref had with the FBI, especially

   19   Agent Hoover, the Court will recall he told him that he

   20   would definitely bring any suspicious activities or

   21   individuals to the FBI's attention if he -- if they came to

   22   his attention.   Definitely.   He used that word "definitely."

   23   And I submit to the Court that when he's told, "I work for

   24   JEM," and he not only doesn't bring it to the FBI's

   25   attention, but says, "Be very careful," and when he's later




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    1   told in February, February 12th, there's gonna be a missile

    2   attack next week, and instead of bringing it to the

    3   attention of the FBI, as he promised Agent Hoover he would,

    4   he said, "Don't talk about that kind of thing," and told the

    5   suicide bomber story.   "Even the suicide bomber doesn't tell

    6   his own mother when he's about to engage in that conduct."

    7   And this is the type of conduct that the Court should take

    8   into consideration when deciding that this is a truly

    9   appropriate guideline range.

   10                   Just to address the suggestion that Mr. Aref

   11   was minding his own business, I just want to remind the

   12   Court, and I'm sure the Court is aware, that the FBI had the

   13   reasons for looking at Mr. Aref -- his name and phone number

   14   found in those camps in Iraq, including one camp where 80

   15   insurgents were killed, and we had the list of "missiles"

   16   and things.

   17                   So, there is no question the FBI

   18   appropriately, and it would have been utterly irresponsible

   19   not to, involved Mr. Aref.   What did they do?   A very simple

   20   thing.    "Let's talk to him, say some things and see how he

   21   reacts.    Tell 'em you work for JEM, see how he reacts.   Tell

   22   him about a missile attack in New York and see how he

   23   reacts."

   24                   I submit to the Court, based on his own

   25   conduct, based on how he reacted, based on what he did, it's




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    1   totally appropriate to sentence him within the guideline

    2   range.

    3                  Thank you, your Honor.

    4                  THE COURT:   Thank you, Mr. Pericak.

    5                  Mr. Aref.

    6                  THE DEFENDANT:   Yes.

    7                  THE COURT:   You may be heard, sir.

    8                  THE DEFENDANT:   Thank you, your Honor.   Thank

    9   you very much, Honor, for to me to speak.   And I like first

   10   to thank this Court for all for the time I spend here and

   11   whoever involve in this case in any way.    And I start with

   12   marshal officer here, which brought me continuously one

   13   month for the trial.   I did not see from them only respect

   14   and only they deal with me not even as a criminal, as a

   15   guest, and I'm very thankful for that and I believe they was

   16   shocked by the verdict more than me.

   17                  The same thing about the Rensselaer County

   18   Jail, which is my home for last almost 18 months, and most

   19   of them, the officers there, they are shocked and they tell

   20   me it's no way for us in whatever to believe you are bad

   21   man, you are danger, you are terrorist, you are -- they tell

   22   me that they believe it is wrong and they don't understand

   23   why I must to sleep in the cell alot.

   24                  And I thank after that these people in the

   25   back, which I believe they supported in many ways.    Without




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    1   their support, my children, now they used to be on the

    2   street homeless because I was only the person I work and

    3   taking care of them; my wife, she have the new baby, she

    4   have three young children, she had health problem, she was

    5   not able to work.   If not the support from these people

    6   (indicating), my children now they used to be on the street.

    7   For no any reason, for no any crime.   If it's coming to

    8   commit the crime in this country, why I bring the sick wife

    9   and three young children with me to suffer?     To be arrested

   10   after my crime?   Why I bring them with me if I'm coming to

   11   commit any crime?   I'm very thankful for these people in the

   12   back and I believe they must to stand up and they must to

   13   come in front and these people should to lead this country

   14   and to stop these people from making story, from taking this

   15   country toward the hell.   These are the same people, Honor,

   16   they destroyed my country, Iraq, they killed seven hundred

   17   thousands innocent because they say we have the map, we have

   18   the video, we have the evidence, Iraq have the weapon of

   19   mass destruction.   And they went to United Nation, they

   20   showed to all the universe this is our evidence, this is our

   21   map, this is our proof.    Where it is now?

   22                  The same they did for me.      I did not hear to

   23   answer anything about my case because they told me don't do

   24   it.   But prosecutor, Mr. Pericak, now he say we give him the

   25   opportunity to do the crime.   I knew my crime -- I knew JEM,




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    1   it is the terrorist.    If anyone asks me, "Do you know Osama

    2   Bin Laden?"   Yes, I hear about him in the TV, but that's

    3   mean I am with Osama Bin Laden because I hear in the TV

    4   about him?    That's all I say about JEM.   He ask me, "Do you

    5   know that?"   I say, "I hear, I hear about them in the TV,"

    6   because I cannot lie to say never I heard about them.    I'm

    7   the person daily I listen to the news, because every week I

    8   must to preach in the mosque.   How I can to preach every

    9   week if I don't know what's going on in the universe?    So,

   10   all my crime, I say I hear about that group on the TV.    He

   11   say for helping them.   At least ten time in the same

   12   meeting, continuously I say I don't know them, I don't know

   13   anything about them, I don't know who's leading them, I

   14   don't know who's (sic) their purpose, I don't know who's

   15   (sic) their goal.   I cannot trust any politic organization.

   16   More than ten time continuously he try to make me emotional

   17   and say support them.

   18                    After he misguide me, he describe them not by

   19   terrorist group, by freedom fighter, they are working for

   20   their freedom.   If best of for information he gave to me I

   21   say to support them, I must not to be criminal because he

   22   told me they are freedom fighter.   For 40 years their land

   23   has been occupied and they work for their freedom.    I am

   24   Kurdish, I knew the mean of freedom.   Because Kurdish, they

   25   are biggest nation in this universe, at least 14 million




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    1   Kurdish like me, we are homeless, we are stateless, we are

    2   unoccupied territory, all for century.   I knew the mean for

    3   freedom.    When they told me freedom fighter, to be honest

    4   I'm not hiding anything, I'm not politician to lie.     In the

    5   mosque, I preach same way; in the Court, I preach same way;

    6   in the jail, I told same way.

    7                   Prosecutor and FBI, they interview me, I talk

    8   same way.   I am saying the truth.   I support freedom for all

    9   the nations, including Kashmil (phonetic), including

   10   Kurdistan, including Palestine, I want them to be free.     But

   11   never I supported any terrorist act, any bombing, any

   12   innocent killing, any harming for children, any target or

   13   targeting any civilian.    And they ask me every single thing

   14   terrorist they believe, because they try to make me to say

   15   something in the cassette.   They ask me about suicide bomb

   16   in their cassette.    I say it is not allowed in Islam.   They

   17   say why they do?   I say go ask them.   Does they do?   Does

   18   they plan for them?   Does they give him the permission fatwa

   19   to do them or they will be charged in front of God for what

   20   they did?   They asked me about killing the innocent.     I say

   21   no way in Islam to kill the innocent.    He ask me about do

   22   something in this country.   I say we are not in Palestine to

   23   fight.   We are in this country.   We came, we sign, we

   24   promise to obey the law.   You want to make me like -- in my

   25   culture, they say you want to be more Catholic than Pope,




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    1   you want to tell me this is not Islamic law, why we should

    2   to respect it?   I say no, because Islam make it obligatory

    3   for us to do because when we came to this country, we sign

    4   we should to obey the law, we should to respect the law, and

    5   Islam make it obligatory to respect the law.

    6                    How I do crime because I knew JEM terrorist

    7   group?   I knew it was terrorist group, but what I have to do

    8   with JEM?    Ever in my life I say I no met anything from JEM,

    9   nothing.    He say you told us there will be attack in New

   10   York City.   How he say it?   Bring the cassette, tell me how

   11   he say it.   What I did?   I say God bless you, I say I'm

   12   coming to help you, I say who's doing it, why he doing it.

   13   When I hear that I kick him out from my house, I am Imam,

   14   not Muslim people allowed to disrespect their guest, doesn't

   15   matter what is they say.   But as much I get I kick him out.

   16   And because they don't bring the cassette, because it is

   17   proof, I don't give any proof for what he say, because they

   18   lie, they say in that day they explain for me the word of

   19   Chaudhry, never they going to hear if they bring the

   20   evidence, the cassette for that day, because they brought

   21   the person, they scaring him, he testify, he say he used to

   22   call FBI, but Yassin told him Malik joking, that's why he

   23   did not call the FBI.

   24                    I swear by God if you give me death penalty,

   25   I am not going to swear by God falsely.   I swear by God




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    1   never I told him Malik he's joking.    Anyway, today I came

    2   here and they told me don't say anything about the case.

    3   I'm sorry, I did not came here -- and this is my

    4   disagreement with my lawyer all the time.   I say I believe

    5   in the court we should to talk about the evidence, not talk

    6   about Yassin is so funny and Yassin children.   Because if

    7   Yassin worry about his children, he should not commit the

    8   crime.   If I commit the crime, it is my problem, the

    9   children, not yours problem.

   10                  You should to be fair.   But I believe we have

   11   clear proof they did nothing.   But my lawyer's philosophy,

   12   he told me continuously, before and during the trial, it is

   13   no way, no way this jury, that time jury was sitting there,

   14   to make you guilty.   No way evidence to make you crime for

   15   anything.   But now I'm criminal, now I'm terrorist, now I'm

   16   guilty 10 charges which is still now I don't understand

   17   them, I don't know what is they are.    I don't know.   If

   18   somebody say he's going to -- he did not say he's -- if

   19   going to be some attack in New York City, I kick him out.

   20   What's my crime?   What's I did?   They told me oh, you are

   21   crime because you did not call the FBI.   I say I did not

   22   call FBI because he was liar.   Why you know he was liar?

   23                  Honor, if I do something like this or he knew

   24   something like this, why he were going to mention it?

   25   What's the reason for that guy to tell us next week it will




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    1   be some attack?   What's the reason?   He say the reason.   He

    2   say we told him because we want Yassin to be save, not go to

    3   New York City on that day.   This is true if every day I go

    4   to New York City or every week.    I am six years in this

    5   country, I did not went to New York City three time.     What I

    6   do with New York City?    Why you tell me that?

    7                   Say, Honor, I give -- say Malik, he trusted

    8   me, he told me.   I have the guest, never saw Malik in his

    9   life.    How somebody can in front of the guest to say

   10   something like this if it is true?     Does make me to have any

   11   doubt it's not true and I did not call.    And I don't know

   12   how I am crime.   I believe even if it is true, I will not be

   13   crime because I did not show any signing for my approval for

   14   that, for support for that idea.

   15                   Second, if I believe terrorist attack or

   16   suicide attack against the principle of my faith and this is

   17   the same FBI Agent Hoover, he testified here when he asked

   18   me I say that, maybe somebody say, oh, he was FBI, why you

   19   say that?   But where Malik he ask me, I don't know Malik,

   20   he's FBI, I say it's the same thing, society, it's against

   21   Islam.   And how am I gonna believe something against Islam?

   22                   I am going to stop to say about the case, but

   23   any human being, Honor, any human being he see this

   24   evidence, he cannot believe I am guilty.    And I believe many

   25   people, they wrote for you the letter, they was sitting




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    1   there, and every single day they came to the trial.    It is

    2   beyond any human being's mind to say jury came to the

    3   conclusion based of the evidence.    I'm not accusing them

    4   because we are human being, something maybe misguide us,

    5   something maybe confuse us, something maybe mistake we do.

    6   But, strongly, I believe it is this Court's duty to find

    7   that error, to make sure that justice has been fair and the

    8   fair decision has been made.

    9                   I told this lawyer first time I saw him in my

   10   life, I say what's the evidence?     If you believe I'm guilty

   11   in any charge, don't bring it to the trial, don't defend,

   12   don't use your experience, your knowledge to bring out the

   13   criminal person on the street to harm the people.    If I did

   14   the crime, I will be happy to pay for it, to sleep in the

   15   jail; it's my crime, I pay for it.    But if not, why I do?

   16   Why my daughter Dinya (phonetic), she's 15 months now, she

   17   don't know me, I was in jail when she born, she came to the

   18   jail, maybe they say a lot here, she believing I'm danger, I

   19   cannot carry her because she don't know me, she's scared

   20   from me, my daughter.   Why?   If I did the crime, I will not

   21   blame anyone.   But I did nothing.

   22                   And let me go back to what was in my mind to

   23   say because to be honest, they give me wrong information.

   24   Never they told me you have the right to argue any evidence.

   25   And never my lawyer he argue their evidence, even now, all




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    1   the time making the story, I say please, we are in court,

    2   leave the story, leave exaggerating Yassin he's this, he's

    3   this, he's peaceful man, Imam, brilliant, this and that.

    4   Yes, he suffered a lot in Iraq under Saddam and he has the

    5   family.    No, this is all my problem.   I suffered in Iraq, it

    6   is not your problem, Honor.   My children suffer and it is

    7   not their problem, Honor.   It is my problem.    If I am worry

    8   about them, why I commit the crime?      I say leave, don't beg

    9   them for mercy because my children's situation.       Because I

   10   suffered alot under the Saddam.     Don't beg that.   Prove I

   11   didn't.    And if I did something, I am in charge.

   12                   I am villager, Honor.    I am villager.   I born

   13   in the village, I live in the village.     I have the parents;

   14   my father is the farmer in the isolated village in the third

   15   country.   But every single person in my village, they

   16   believe human being they are in charge only for what they

   17   did and what they said.   I'm not in charge what he say

   18   (indicating), doesn't matter what he say, only if I show my

   19   approval for it, only if I show the sign I am happy with

   20   that.   But what he say what's my problem?    I must to be in

   21   charge for what I did and what I say.     I came to United

   22   State, I believe United State should be human being only in

   23   charge for what they did because no crime for talking in

   24   this country.   This is not Iraq.   I can talk, say something,

   25   criticize President Bush, I can say this government have the




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    1   wrong policy.    I can't say they destroyed my country, they

    2   did not build it.   They took the sectarian to the Iraq, not

    3   the democracy.   I can't say they took Iraq hundred years

    4   back, not hundred years forward.   I cannot say they did not

    5   change Iraq or Baghdad to become New York or London.     They

    6   changed it back to be Magdule (phonetic) or Kabul.    I cannot

    7   say that.   In Iraq, if I say that, they will hang me.     If I

    8   criticize the Government, I will be under the ground.

    9                    That's why we came here, to be free, to live

   10   free, to have the dignity to live like the human being.

   11   What happened in this country, not only they charge the

   12   people for whatever they say or did, because if they charge

   13   the people like the villager they do in the third country, I

   14   will not be guilty.    Honor, you or any human being search

   15   every single evidence, what is the act I do I am paying for?

   16   Even what is the word I say I am paying for?    It's not

   17   there.    It's not there.

   18                    So what I am paying for?   In this country,

   19   they have charge, this is different charge, never I hear in

   20   my village anywhere.   They say he have intention, he will.

   21   I am guilty for my intention.   But, Honor, I believe so, I

   22   believe God, only God, he know what is in the heart of the

   23   people.   And I believe God.   He did not gave the power to

   24   anyone, doesn't matter how much technology they have, they

   25   cannot go to my heart.




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    1                   In jail, we say they can jail you, but not

    2   jail your mind, not jail your heart.    You can be free in

    3   your mind.    I believe my heart, God give it to us, every

    4   individual.   Nobody can enter something or take out

    5   something, only by your key.   This is not secret code in the

    6   computer or e-mail somebody can open.   This, God gave to

    7   every individual, never to go to the heart and check what is

    8   there.   I'm guilty for my intention?   They must to show when

    9   I show that intention.    If I say this is not allowed in my

   10   faith, how I do it?   Where the intention?   And I believe if

   11   I have intention to do something wrong, say I put it in my

   12   mind and I did not, I must not be guilty.

   13                   But God, he knew my heart.   I swear by God I

   14   have no any intention, I never had intention to harm anyone

   15   in this country.   And I don't know why I'm guilty.    Sir,

   16   what's happen, I came from that country, from the village,

   17   which I believe I have no intention, I did nothing at all.

   18   I say nothing at all to be the criminal.     And after that,

   19   all my life, Honor, because I am Kurd, they accuse the Kurd

   20   by being villager, by being danger, by being willed, by

   21   being animal, by being ignorant.   This is description for

   22   Kurd in Iraq, in Turkish, in Iran, in all the country they

   23   have Kurdistan in.    All of our life we struggle.   We must to

   24   prove we are human being, nothing else.    We are human being.

   25   Like any human being, God created us.   Maybe we look a




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    1   little bit difference, but we are human being.    We have two

    2   eyes, one mouth, two ear, we don't have tails, don't have

    3   horn, we are normal human being.

    4                   All my life for century we must to do that.

    5   I come to this country and I say that over.    Everybody human

    6   being here, everybody in front of Honor and court, everybody

    7   have the same right for freedom of speech.    In this country,

    8   me and seven million Muslim live in this country, all has

    9   been accused, they are willed, they are animal, they are

   10   danger, they are terrorist, they are ignorant and they must

   11   to prove now no, we are not, we are just human being.

   12                   And this lawyer, he told me, he told me

   13   things, he say you don't have to argue anything about the

   14   case because they prove something against you.    All I want

   15   you to go there (indicating) and to speak so the jury they

   16   knew you are just human being.    Why?   Why they should to

   17   have the doubt I'm human being?    This is not help in this

   18   country, your Honor.   These seven million people they came

   19   to here as the Muslim, which is 95 percent of them citizen,

   20   they belong to this country.   My children don't have

   21   citizenship in Iraq, don't have citizenship in Syria, don't

   22   speak even the Kurdish.   Just they know English.    Why they

   23   should be criminal just because they are Muslim?     Why should

   24   we to prove we are human being?    We have no horn, no tails

   25   on our back.   Why?




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    1                   And I believe this is wrong, I believe this

    2   is not being any good for this country, for the system here,

    3   for anything.   I one person.    But if you gave me death

    4   penalty, I would take it proudly because -- I know you,

    5   Honor, and every single person and everybody, FBI, they

    6   check all my record, all my life, they interview thousands

    7   of the people, they brought all my life in Iraq, too, they

    8   knew never I did any violence, never I participate in any

    9   fighting, never I support any terrorist group in any way.

   10   They have everything, they knew that.    And I believe, Honor,

   11   you have no doubt their evidence not prove anything.

   12                   But with that, if they will be proud by

   13   putting me in the all my life in the jail and make my

   14   children to suffer, I will tell you and give you right, make

   15   them more proud and give me death penalty and I will take it

   16   proudly, not because I'm arrogant or proud person, because

   17   they knew and you knew and everybody knew I did nothing to

   18   be one day in the jail for.     I did nothing to be one day in

   19   the jail for.   And I did not came to this country to be in

   20   the jail.   I came to be free.   I did not came to this

   21   country to destroy this country.    I came to be my life.   I

   22   did not came to threaten any human being in this country, to

   23   terrorize any children.   I came for my children to be safe

   24   from terrorist.

   25                   I am going to stop here and I am going to




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    1   don't finish.   I have many thing to say, but I will repeat,

    2   I did nothing at all, even I say nothing at all.     And God,

    3   he knew my heart I have no intention to harm anyone, and I

    4   believe what's done for me it is unfair and I believe,

    5   Honor, it is your duty to make sure that justice has been

    6   served.   If not, give me death penalty.

    7                   Thank you very much for your time.

    8                   THE COURT:   All right.   Any reason I

    9   shouldn't sentence your client now?

   10                   MR. KINDLON:   No, sir, there's none.

   11                   THE COURT:   Mr. Aref, do you know any legal

   12   reason I shouldn't pass sentence on you?

   13                   THE DEFENDANT:   I don't know.   I'm villager,

   14   I don't know anything about legal, Honor, please.

   15                   THE COURT:   Okay.

   16                   THE DEFENDANT:   Thank you very much.

   17                   THE COURT:   Well, sure, it's nice for you to

   18   believe you're innocent, but, of course, you were convicted

   19   here after proof was introduced before a jury, they heard

   20   the proof, they made the decision.    The Court reviewed that

   21   decision and decided that it was, in fact, correct, that you

   22   did break the law, that you intended to help that group,

   23   that you wanted to achieve those ends, even though you

   24   weren't quite clear what they were.   But what you did do was

   25   continue on and participated in a scheme that would launder




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    1   money, that would ultimately be used, so you were told by

    2   Malik, for the purposes of helping your Mujaheddin brothers.

    3   And my listening to the evidence made me believe that's

    4   exactly what you wanted to happen.   And that's without

    5   debating the issue, I am not gonna do that, because your

    6   point of view is going to be aired thoroughly in the Second

    7   Circuit Court of Appeals, and if this was done in error or

    8   unjustly done, they're gonna tell us about it, they will

    9   send it back for either a new trial or some other

   10   disposition, and that's fine, that's what their job is.

   11                  But from this Court's perspective, being here

   12   for the whole trial, my belief is that you were guilty of

   13   the crimes that the jury found that you committed, by your

   14   own free will, in a free country, not caring about your wife

   15   or your children, but caring about your purposes.   And,

   16   again, I don't want get into a political debate with you,

   17   because this is not the forum for that.

   18                  Now, this is gonna take a little bit of time.

   19   I want to apologize, in a fashion.   Not that I'm gonna do

   20   anything that I consider to be improper, but what I am gonna

   21   do is cite to a lot of sections in the Guidelines and a lot

   22   of case law, so some of you may not understand what I'm

   23   saying.   Of course, at the end of this recitation, you will

   24   all understand what my sentence will be in this case without

   25   question.   So, I am going to begin now, and hopefully, it




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    1   won't take too long.

    2                    The Court has, of course, reviewed and

    3   considered all the pertinent information, including what was

    4   said here today, presentence investigation report, and the

    5   addendum, all the submissions by counsel, the petitions, the

    6   letters, all the factors outlined in 18 U.S. Code Section

    7   3553 and the Sentencing Guidelines.

    8                    Court adopts the factual information

    9   contained in the presentence investigation report.

   10                    As to the United States Sentencing Guidelines

   11   calculation, the Court will start by addressing the

   12   guideline calculation for Mr. Aref's convictions on Counts

   13   20, 26 and 27.   On these counts, Mr. Aref was convicted of

   14   one count of conspiracy to provide material support to a

   15   Designated Terrorist Organization, in violation of 18 U.S.

   16   Code Section 2339B and two counts of attempting, or aiding

   17   and abetting an attempt, to provide material support to a

   18   Designated Terrorist Organization, in violation of 18 U.S.

   19   Code, Sections 2339B and 2.    The Sentencing Guidelines

   20   manual specifies that for violations of 18 U.S. Code

   21   Section 2339B, the applicable guideline is United States

   22   Sentencing Guidelines 2M5.3.   Under 2M5.3(a), the base

   23   offense level is a 26.

   24                    Section 2M5.3(b)(1), specific offense

   25   characteristics, provides that if the offense involved the




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    1   provision of funds or other material support or resources,

    2   with the intent, knowledge or reason to believe they are

    3   being used to commit or assist in the commission of a

    4   violent act, increase by 2 levels.   The facts at trial

    5   established that the material support in issue -- that is,

    6   the laundering of funds from the confidential witness'

    7   purported illegal importation of a surface-to-air missile --

    8   was aided and abetted by Mr. Aref with the intent,

    9   knowledge, and belief that the surface-to-air missile would

   10   be used in an attack on the Pakistani Ambassador in New York

   11   City.    Thus, the offenses clearly involved the provision of

   12   material support with the intent, knowledge or reason to

   13   believe that the material support would assist in the

   14   commission of a violent act.   Accordingly, 2 points are

   15   added.

   16                   Section 3A1.4, the terrorism enhancement,

   17   provides at subsection (a) that if the offense is a felony

   18   that involved, or was intended to promote, a federal crime

   19   of terrorism, increase by 12 levels; but if the resulting

   20   offense level is less than level 32, increase to level 32.

   21   This enhancement also provides at subsection (b) that in

   22   each such case, the defendant's criminal history category

   23   from Chapter 4, criminal history and criminal livelihood,

   24   shall be category 6.

   25                   Pursuant to application note 1, a federal




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    1   crime of terrorism has the meaning given that term in

    2   18 U.S. Code Section 2332b(g)(5).   That provision contains a

    3   two-part definition:   One, the crime must be an offense that

    4   is calculated to influence or affect the conduct of

    5   government by intimidation or coercion, or to retaliate

    6   against government conduct; and the crime must be listed in

    7   Section 2332b(g)(5)(B).

    8                  Both 2339A, which I will address in a moment,

    9   and Section 2339B, are listed in Section 2332b(g)(5)(B).

   10   Further, based on statements by the confidential witness

   11   during the course of the criminal venture, the evidence

   12   established that Mr. Aref committed the crimes believing

   13   that Jaish-e-Mohammad, the group that purportedly received

   14   the surface-to-air missile, was intending to deploy it

   15   against the Pakistani Ambassador in order to teach the

   16   President of Pakistan a lesson.   Thus, the evidence was

   17   sufficient to establish that the Section 2339B offenses

   18   involved a federal crime of terrorism that was calculated to

   19   influence or affect the conduct of government by

   20   intimidation or coercion, or to retaliate against the

   21   government conduct.    See United States versus Arnaout,

   22   431 F.3d 994 at 1001; United States versus Mandhai, 375 F.3d

   23   1243 at 1247; United States versus Graham, 275 F.3d 490 at

   24   516; see also United States versus Hale, 448 F.3d 971,

   25   footnote 1; United States versus DeAmaris, 406 F.Supp.2d 748




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    1   at 750.   Therefore, 12 levels will be added under the

    2   terrorism enhancement.

    3                    For the reasons set forth in the presentence

    4   report at paragraphs 84, 85 and 87, the Court finds that no

    5   other adjustments are warranted for offense level.

    6                    With regard to an obstruction of justice

    7   enhancement pursuant to 3C1.1 of the guidelines, the Court

    8   does not find that the enhancement applies simply because

    9   Mr. Aref chose to testify in his own behalf at trial.     As

   10   evidenced by the guilty verdicts on some, but not all, of

   11   the counts, the jury evidently chose not to credit all of

   12   his testimony.   However, this does not establish that he

   13   gave false testimony concerning a material matter with the

   14   willful intent to provide false testimony, rather than as a

   15   result of confusion, mistake or faulty memory.   United

   16   States versus Dunnigan, 507 US 87 at 94.   Accordingly, the

   17   total offense level is 40 for the 2339B convictions.

   18                    Turning to criminal history, the application

   19   of the terrorism enhancement results in a presumptive

   20   criminal history category of 6 for Mr. Aref.   While the

   21   Second Circuit has held that, quote, "Congress and the

   22   Sentencing Commission had a rational basis for creating a

   23   uniform criminal history category for all terrorists under

   24   Section 3A1.4(b)," the Circuit also noted, in the same case,

   25   that the District Court always has the discretion under




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    1   Section 4A1.3(b) to depart downward in sentencing.   United

    2   States versus Meskini, 319 F.3d 88 at page 92.   Thus, even

    3   where the terrorism enhancement applies, a horizontal

    4   departure on criminal history is warranted under 4A1.3(b) if

    5   the criminal history category of 6 substantially

    6   overrepresents the seriousness of the defendant's criminal

    7   history or the likelihood that the defendant will commit

    8   other crimes.

    9                   The Court finds that a criminal history

   10   category of 6 does substantially overrepresent the

   11   seriousness of the defendant's criminal history.   As

   12   indicated in the presentence investigative report at

   13   paragraphs 91 through 94, Mr. Aref has no prior criminal

   14   adjudications and received zero total criminal history

   15   points, as scored by the United States Probation Department.

   16   The credible and reliable evidence indicates that Mr. Aref

   17   came to this country with his family, with a limited

   18   understanding of the English language, and provided for his

   19   family, until his arrest, through lawful employment in

   20   various capacities.   The information available to the Court

   21   indicates that he has been a good father and husband, and

   22   there's no indication that he's engaged in any other

   23   criminal activity in this country.   Further, as indicated in

   24   the presentence report, Mr. Aref has been an Imam at the

   25   local mosque, in which capacity he has been a spiritual




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    1   leader for many members of the community in Albany, New

    2   York.   His positive impact on numerous members of the

    3   community is evidenced by the letters and petitions

    4   submitted on Mr. Aref's behalf.   Based upon Mr. Aref's lack

    5   of prior criminal history and his personal characteristics

    6   as set forth in -- that must be considered in the statute,

    7   the Court finds his circumstances to be extraordinary and

    8   that a downward departure is warranted to a criminal history

    9   category of 1.

   10                    Pursuant to United States Sentencing

   11   Guideline Chapter 5, Part A, based on the total offense

   12   level of 40, and a criminal history category of 1, the

   13   guideline range for imprisonment is 292 to 365 months.

   14   Pursuant to 18 U.S. Code Section 2339B, the statutory

   15   maximum term of imprisonment for Counts 20, 26 and 27 is

   16   180 months.   The Court will address the relationship of the

   17   statutory maximum to the guideline range in a moment.

   18                    I can see your eyes are all glazed over, and

   19   I don't blame you one bit.

   20                    The Court turns next to Count 12, upon which

   21   Mr. Aref was convicted of conspiracy to conceal or disguise

   22   the nature, location, source or ownership of material

   23   support or resources in connection with an attack with a

   24   weapon of mass destruction on a person or property within

   25   the United States, in violation of 18 United States Code




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    1   Section 2339A; and Counts 18 and 19 upon which Mr. Aref was

    2   convicted of two substantive counts of attempting, or aiding

    3   and abetting an attempt, to conceal or disguise the nature,

    4   location, source or ownership of material support or

    5   resources in connection with an attack with a weapon of mass

    6   destruction on a person or property within the United

    7   States, in violation of 18 United States Code Section 2339A

    8   and 2.

    9                    For a violation of 18 U.S. Code Section

   10   2339A, the applicable guideline is Section 2X2.1 or

   11   Section 2X3.1.   These provisions, in turn, direct that the

   12   offense level is the same as that for the underlying

   13   offense.   The underlying offense charged in these counts was

   14   a violation of 18 U.S. Code Section 2332a, the unauthorized

   15   use of a weapon of mass destruction on a person or property

   16   within the United States.

   17                    A guideline sentence for a violation of

   18   2332a is determined using either 2K1.4 or Section 2M6.1.

   19   Section 2M6.1, which is the higher guideline, does not apply

   20   because the definition of weapon of mass destruction in

   21   application note 1 excludes the subsection of 2332a that is

   22   charged in the superseding indictment.   Under United States

   23   Sentencing Guidelines Section 2K1.4, the base offense level

   24   is, therefore, 24.

   25                    For the reasons discussed a moment ago, the




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    1   terrorism enhancement of United States Sentencing Guideline

    2   Section 3A1.4 applies to the 2339A convictions, resulting in

    3   a 12-point increase to an offense level 36.   Also for the

    4   reasons discussed a moment ago, the Court finds that no

    5   adjustments apply and that a downward departure to criminal

    6   history category 1 is warranted in this case.

    7                  Pursuant to United States Sentencing

    8   Guideline Chapter 5, part A, based on total offense level of

    9   36, and a criminal history category of 1, the guideline

   10   range for imprisonment for Counts 12, 18 and 19 is 188 to

   11   235 months.   Pursuant to 18 U.S. Code Section 2339A, the

   12   statutory maximum term of imprisonment for Counts 12, 18 and

   13   19 is 180 months.

   14                  Mr. Aref was also convicted of conspiracy and

   15   two substantive offenses of money laundering in violation of

   16   18 U.S. Code Section 1956.   See Counts 1, 10 and 11.   The

   17   Sentencing Guidelines manual specifies that for violations

   18   of 18 United States Code Section 1956, the applicable

   19   guideline is United States Sentencing Guideline Section

   20   2S1.1.

   21                  Under Section 2S1.1(a)(2), the base offense

   22   level for these convictions is 8 plus the number of levels

   23   from the table in Section 2B1.1 corresponding to the value

   24   of the laundered funds.   Because the value of the laundered

   25   funds in this case was more than $30,000 and less than




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    1   $70,000, 6 additional levels are added.

    2                   As to specific offense characteristics,

    3   Section 2S1.1(b)(1) provides that if the defendant knew

    4   or believed that any of the laundered funds were the

    5   proceeds of or were intended to promote a crime of violence

    6   or an offense involving firearms or explosives, increase by

    7   6 levels.    The evidence established that Mr. Aref believed

    8   that the laundered funds were the proceeds of the illegal

    9   importation of a firearm or explosive and that he believed

   10   that money laundering scheme was intended to promote a crime

   11   of violence involving the use of a firearm or explosives.

   12   Accordingly, 6 additional levels are added.

   13                   Next is the question of whether the terrorism

   14   enhancement of Section 3A1.4 applies to the money laundering

   15   conviction.   As the Court indicated previously, in order for

   16   this enhancement to apply, the offense must be a felony that

   17   involved or was intended to promote a federal crime of

   18   terrorism.    Section 3A1.4(a), application note 1 provides

   19   that a federal crime of terrorism has the meaning given that

   20   term in 18 U.S. Code Section 2332b(g)(5).   Under Section

   21   2332b(g)(5), the crime must be an offense that is calculated

   22   to influence or affect the conduct of government by

   23   intimidation or coercion, or to retaliate against government

   24   conduct and as listed in Section 2332b(g)(5)(B).

   25                   Since 18 U.S. Code Section 1956 is not listed




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    1   in Section 2332b(g)(5)(B), this offense does not involve a

    2   federal crime of terrorism.   Nonetheless, the terrorism

    3   enhancement is properly applied to the money laundering

    4   convictions under the "intended to promote" prong of the

    5   enhancement's language if the purpose or intent of the

    6   defendant's substantive offense of conviction or relevant

    7   conduct was to promote a federal crime of terrorism.     United

    8   States versus Arnaout, 481 F.3d 994 at 1000-1001; see also

    9   United States versus Hale, 448 F.3d 971 at 988; United

   10   States versus Mandhai, 375 F.3d 1243 at 1247; United States

   11   versus Graham, 275 F.3d 490 at 517.

   12                  Here, the evidence established that Mr. Aref

   13   believed that funds being laundered were the proceeds from

   14   the sale of a surface-to-air missile that was to be used in

   15   an attack on the Pakistani Ambassador by Jaish-e-Mohammad to

   16   teach the President of Pakistan a lesson.   Thus, the

   17   evidence was sufficient to establish that, through the money

   18   laundering scheme, Mr. Aref intended to promote a federal

   19   crime of terrorism that was calculated to influence and

   20   affect the conduct of government by intimidation or

   21   coercion, or to retaliate against government conduct.

   22   Accordingly, the terrorism enhancement applies to the

   23   Section 1956 convictions and 12 levels are added.   No

   24   additional adjustments are warranted, bringing the total

   25   offense level to 32.




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    1                   Also, for reasons discussed a moment ago, the

    2   Court finds that a downward departure to criminal history

    3   category 1 is warranted.

    4                   Pursuant to United States Sentencing

    5   Guidelines Chapter 5, part A, based on a total offense level

    6   of 32, and a criminal history category of 1, the guideline

    7   range for imprisonment for Counts 1, 10 and 11 is 121 to 151

    8   months.   Pursuant to 18 United States Code, Section 1956,

    9   the statutory maximum term of imprisonment for Counts 12, 18

   10   and 19 is 240 months.

   11                   On Count 30, Mr. Aref was convicted of making

   12   a false statement to the FBI, in violation of 18 United

   13   States Code Section 1001.   Under guideline Section 2B1.1(a),

   14   the base offense level for this crime is 6.   No specific

   15   offense characteristics from 2B1.1(b) need to be applied.

   16   Again, the Court applies a criminal history category of 1.

   17                   Pursuant to United States Sentencing

   18   Guidelines, Chapter 5, part A, based on a total offense

   19   level of 6 and a criminal history category of 1, the

   20   guideline range for imprisonment on Count 30 is zero to

   21   6 months.    Pursuant to 18 United States Code Section 1001,

   22   the statutory maximum term of imprisonment for Count 30 is

   23   96 months.

   24                   Now, United States Sentencing Guideline

   25   Section 5G1.2(d) provides, if the sentence imposed on the




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    1   count carrying the highest statutory maximum is less than

    2   the total punishment, then the sentence imposed on one or

    3   more of the other counts shall run consecutively, but only

    4   to the extent necessary to produce a combined sentence equal

    5   to the total punishment.   In all other respects, sentences

    6   on all counts shall run concurrently, except to the extent

    7   otherwise required by law.

    8                  The counts carrying the highest statutory

    9   maximum are the 1956 counts, which carry a 240-month

   10   statutory maximum.   The guideline sentence for Section 1956

   11   offenses is 121 to 151 months, which is less than the

   12   240-month statutory maximum.   Referring to Section 5G1.2(d),

   13   the Second Circuit recently held, quote, "where the

   14   guidelines-recommended sentence exceeds the statutory

   15   maximum on some counts, but not others, the Court should

   16   impose no more than the statutory maximum on any one count,

   17   but should impose a sentence consecutively to the extent

   18   necessary to reach the recommended guideline range."

   19   United States versus Reifler, 446 F.3d 65 at 113.

   20                  The Section 2339B convictions carry the

   21   highest adjusted offense level.   Consequently, in accordance

   22   with United States Sentencing Guideline Section 3D1.3(a),

   23   these offenses are controlling for scoring purposes.    The

   24   guideline range for these offenses, which can be grouped

   25   with the other offenses of conviction under United States




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    1   Sentencing Guideline Section 3D1.3(b), constitutes the total

    2   punishment for purposes of Section 5G1.2(d).   See

    3   presentence report at paragraph 80, discussing grouping.

    4   The guideline range for the Section 2339B offenses is 292 to

    5   365 months.

    6                  Thus, if the Court were to apply Section

    7   5G1.2(d), Mr. Aref's sentence of imprisonment on the various

    8   convictions would be imposed within their statutory maximums

    9   but consecutively up to the point that the total punishment

   10   sentence of imprisonment under the guidelines was reached.

   11   In this regard, applying Section 5G1.2(d) would result in an

   12   aggregate sentence of at least 292 months, which is the

   13   lower end of the guideline range for the 2339B convictions.

   14                  However, as a result of United States versus

   15   Booker, 543 U.S. 220, 125 S.Ct. 738, 160 L.Ed.2d 621,

   16   Section 5G1.2(d) of the sentencing guidelines is advisory.

   17   United States versus Kurti, 427 F.3d 159 at 164.

   18   Accordingly, this Court possesses discretion to determine,

   19   after application of the 3553(a) factors, whether to impose

   20   consecutive or concurrent sentences.   Now, the Court is

   21   gonna state for the record, it's well aware of each and

   22   every factor enumerated in that statute and I am not going

   23   to reiterate it here, because there's pages and pages of

   24   other Judge's stating those factors.   The Court's well aware

   25   of them and knows how to apply them.




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    1                  Considering the factors set forth in

    2   Section 3553(a), the Court finds that an appropriate

    3   sentence is reached without applying Section 5G1.2(d).     The

    4   underlying terrorism crime around which the sting was

    5   purportedly based is a serious offense, and those who

    6   support these types of crimes deserve substantial punishment

    7   to deter them and others like them from committing similar

    8   crimes in the future.   But having said that, and having

    9   considered that Congress determined that the statutory

   10   maximum sentences for the Section 2339A and Section 2339B

   11   offenses to be 180 months, the Court finds that a sentence

   12   of 180 months is reasonable and sufficient to accomplish the

   13   goals set forth in Section 3553(a).

   14                  While the underlying crime is serious, the

   15   evidence does not support the proposition that Mr. Aref

   16   actively sought out some way to aid a terrorist crime;

   17   rather, the crimes were presented to him.   In addition,

   18   27 of the 30 counts arose out of a sting operation and

   19   Mr. Aref was convicted of only 9 of those 27.   By the jury's

   20   determination, it can be fairly said Mr. Aref, while

   21   possibly aware of the criminal transaction for some time,

   22   did not knowingly, intentionally and criminally associate

   23   himself with it until July 1, 2004, over six months after he

   24   became involved in the transactions between the confidential

   25   witness and the defendant Hossain.    While his delay in




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    1   entering into the scheme does not diminish his criminal

    2   responsibility, it does play some role in consideration to

    3   the appropriate sentence for this defendant.    The Court

    4   finds that the need to punish this defendant and protect the

    5   public from further crimes of Mr. Aref is adequately served

    6   by a sentence of 180 months.

    7                  The Court has considered Mr. Aref's motion

    8   for a further departure under 5K2.0 of the sentencing

    9   guidelines based upon a combination of factors.     While the

   10   Court is aware that it has the authority to depart under

   11   Section 5K2.0 under appropriate circumstances, the Court

   12   finds that those circumstances are not present here.    The

   13   combination of factors argued by defendant does not remove

   14   this case from the heartland of cases covered by the

   15   guidelines.   Accordingly, the motion for a Section 5K2.0

   16   downward departure is denied.

   17                  Therefore, Mr. Aref, upon your conviction at

   18   trial of Counts 1, 10, 11, 12, 18, 19, 20, 26, 27 and 30 of

   19   the superseding indictment, it is the judgment of this Court

   20   that you are hereby committed to the custody of the Bureau

   21   of Prisons to be imprisoned for a term of 151 months on each

   22   of Counts 1, 10 and 11; 180 months on each of Counts 12, 18,

   23   19, 20, 26, and 27; and 6 months on Count 30.   The sentences

   24   on all counts are to run concurrently with one another.

   25   Therefore, the aggregate term of imprisonment for all counts




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    1   is 180 months.

    2                    Upon your release from imprisonment, you

    3   shall be placed on supervised release for a period of three

    4   years on each of the 10 counts of conviction.    These terms

    5   of supervised release are to run concurrently, pursuant to

    6   18 U.S. Code Section 3624(e), for a total term of supervised

    7   release of three years.   While on supervised release, you

    8   shall not commit another federal, state or local crime and

    9   shall comply with the standard conditions that have been

   10   adopted by this Court and the following special conditions:

   11                    If you're deported or otherwise leave the

   12   United States, you shall not enter or attempt to enter the

   13   United States without the permission of the Secretary of the

   14   Department of Homeland Security.   If you do re-enter the

   15   United States, you shall report to the probation office in

   16   the Northern District of New York within 72 hours.

   17                    You shall report to and remain in contact and

   18   cooperate with the Bureau of Immigration and Customs

   19   Enforcement, and you shall fulfill any requirements of U.S.

   20   Immigration Law.

   21                    You shall provide the Probation Officer with

   22   access to any requested financial information.

   23                    You shall commit your person, property,

   24   vehicle, papers and effects to search at any time, with or

   25   without a warrant, by any federal probation officer with




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    1   reasonable suspicion concerning a violation of the

    2   conditions of supervised release or unlawful conduct by you.

    3                  The Court has reliable information which

    4   indicates you pose a low risk of future substance abuse, so

    5   the mandatory drug testing condition is suspended.

    6                  Pursuant to 18 United States Code Section

    7   982(a)(1), 18 United States Code 981(a)(1)(C) and 28 United

    8   States Code Section 2461, and as fully outlined in the

    9   preliminary order of forfeiture, you shall forfeit to the

   10   United States all right title and interest in $40,000 United

   11   States currency, but shall receive credit for any funds

   12   previously recovered.

   13                  Further ordered you pay a special assessment

   14   to the Clerk of the Court of $100 on each count of

   15   conviction, for a total of $1,000, which is due immediately.

   16                  The Court finds, based on your financial

   17   resources, projected earnings and other income, as well as

   18   your obligations, that you do not have the ability to pay a

   19   fine.

   20                  Both you and the Government have the right to

   21   appeal this sentence under certain limited circumstances and

   22   you're advised to consult with your attorney to determine

   23   whether or not an appeal is warranted.   Any appeal must be

   24   filed within 10 days of the date of this sentence.

   25                  You are remanded to the custody of the




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    1   U.S. Marshal in accordance with the terms of this sentence.

    2                  Court stands adjourned in this matter.

    3                  MR. PERICAK:   Thank you, your Honor.

    4                  MR. KINDLON:   Thank you, Judge.

    5                  (This matter adjourned at 10:47 AM.)

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    1                          CERTIFICATION:

    2

    3

    4                  I, THERESA J. CASAL, RPR, CRR, Official Court

    5   Reporter in and for the United States District Court, Northern

    6   District of New York, do hereby certify that I attended at

    7   the time and place set forth in the heading hereof; that I

    8   did make a stenographic record of the proceedings held in

    9   this matter and cause the same to be transcribed; that the

   10   foregoing is a true and correct transcript of the same and

   11   the whole thereof.

   12

   13

   14

   15                                  _____________________________

   16                                  THERESA J. CASAL, RPR, CRR

   17                                  Official Court Reporter

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                          THERESA J. CASAL, RPR, CRR
                     UNITED STATES COURT REPORTER - NDNY
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